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 UNITED STATES’ MEMORANDUM REGARDING STATUS OF DISCOVERY AS OF
                         JULY 12, 2021

       The United States files this memorandum for the purpose of describing the status of

discovery. As an initial matter, substantial discovery has already been provided in this case.

However, as set forth below, because the defendant’s criminal acts took place at the same general

time and location as many other charged crimes, the government’s investigation into the breach of

the United States Capitol on January 6, 2021 (the “Capitol Breach”) has resulted in the

accumulation and creation of a massive volume of data that may be relevant to many defendants.

The government is diligently working to meet its unprecedented overlapping and interlocking

discovery obligations by providing voluminous electronic information in the most comprehensive

and useable format.

                                        The Capitol Breach

       On January 6, 2021, as a Joint Session of the United States House of Representatives and

the United States Senate convened to certify the vote of the Electoral College for the 2020 U.S.

Presidential Election, a mob stormed the U.S. Capitol by breaking doors and windows and

assaulting members of law enforcement, as others in the crowd encouraged and assisted those acts.

Thousands of individuals entered the U.S. Capitol and U.S. Capitol grounds without authority,

halting the Joint Session and the entire official proceeding of Congress for hours until the United

States Capitol Police (“USCP”), the Metropolitan Police Department (“MPD”), and other law

enforcement agencies from the city and surrounding region were able to clear the Capitol of rioters

and to ensure the safety of elected officials. This event in its entirety is hereinafter referred to as

the “Capitol Breach.”
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                                      Scope of Investigation

       The investigation and prosecution of the Capitol Breach will be the largest in American

history, both in terms of the number of defendants prosecuted and the nature and volume of the

evidence. In the six months since the Capitol was breached, over 500 individuals located

throughout the nation have been charged with a multitude of criminal offenses, including but not

limited to conspiracy, tampering with documents or proceedings, destruction and theft of

government property, obstruction of law enforcement during civil disorder, assaults on law

enforcement, obstruction of an official proceeding, engaging in disruptive or violent conduct in

the Capitol or on Capitol grounds, and trespass. There are investigations open in 55 of the Federal

Bureau of Investigation’s 56 field offices.

                              Voluminous Materials Accumulated

       The government has accumulated voluminous materials that may contain discoverable

information for many, if not all, defendants. An illustrative list of materials accumulated by the

government includes:

           o Thousands of hours of closed circuit video (“CCV”) from sources including the
             USCP, MPD, and United States Secret Service, and several hundred MPD
             Automated Traffic Enforcement camera videos;

           o Footage from Cable-Satellite Public Affairs Network (C-SPAN) and other
             members of the press;

           o Thousands of hours of body worn camera (“BWC”) footage from MPD, Arlington
             County Police Department, Montgomery County Police Department, Fairfax
             County Police Department, and Virginia State Police;

           o Radio transmissions, event chronologies, and, to a limited extent, Global
             Positioning Satellite (“GPS”) records for MPD radios;

           o Hundreds of thousands of tips, including at least 237,000 digital media tips;




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           o Location history data for thousands of devices present inside the Capitol (obtained
             from a variety of sources including two geofence search warrants and searches of
             ten data aggregation companies);

           o Subscriber and toll records for hundreds of phone numbers;

           o Cell tower data for thousands of devices that connected to the Capitol’s interior
             Distributed Antenna System (DAS) during the Capitol Breach (obtained from the
             three major telephone companies);

           o A collection of over one million Parler posts, replies, and related data;

           o A collection over one million Parler videos and images (approximately 20 terabytes
             of data);

           o Damage estimates from multiple offices of the U.S. Capitol;

           o A multitude of digital devices and Stored Communication Act (“SCA”) accounts;
             and

           o Responses to grand jury subpoenas, of which over 6,000 have been issued, seeking
             documents such as financial records, telephone records, electronic communications
             service provider records, and travel records.

We are still collecting and assembling materials from the numerous entities who were involved in

the response to the Breach, and we are still investigating – which means the amount of data

(phones, devices, legal process, investigative memoranda) is growing.

                  Voluminous Legal Process and Investigative Memoranda

       In addition to the materials collected, tens of thousands of documents have been generated

in furtherance of the investigation, to include interviews of subjects, witnesses, tipsters and

officers; investigations into allegations concerning officer conduct on January 6; source reports;

evidence collection reports; evidence analysis reports; chain-of-custody documents; legal

documents including preservation letters, subpoenas, 2703(d) orders, consent forms, and search

warrants; and memoranda of investigative steps taken to evaluate leads or further investigations.




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                               Interrelated Crimes and Discovery

       The Capitol Breach involves thousands of individuals inside and outside the Capitol, many

of whom overwhelmed and assaulted police. (According to a Washington Post analysis of the

events, “the mob on the west side eventually grew to at least 9,400 people, outnumbering officers

by more than 58 to one.”). 1 The cases clearly share common facts, happening in generally the

same place and at the same time. Every single person charged, at the very least, contributed to the

inability of Congress to carry out the certification of our Presidential election.

       These circumstances have spawned a situation with overlapping and interlocking discovery

obligations. Many defendants may be captured in material that is not immediately obvious and

that requires both software tools and manual work to identify, such as video and photos captured

in the devices and SCA accounts of other subjects. Accordingly, the defense is generally entitled

to review all video or photos of the breach whether from CCV, BWC or searches of devices and

SCA accounts. Notably, we have received a number of defense requests for access to such

voluminous information, and requests for the government to review the entirety of the law

enforcement files related to this investigation. For example, in support of a motion to compel

access to all of the footage, one such counsel stated:

       The events of January 6, 2021 were memorialized to an extent rarely, if ever,
       experienced within the context of federal criminal cases. The Government itself has
       a wealth of surveillance video footage. Virtually every attendee in and around the
       Capitol on January 6, 2021 personally chronicled the events using their iPhone or
       other similar video device. Many of the attendees posted their video on one or more
       social media platforms. Many held their videos close to their vests resulting in little
       if any publication of same. News media outlets from around the world captured
       video footage. Independent media representative from around the world captured
       video footage. Intelligence and law enforcement personnel present at the Capitol
       on January 6, 2021 also captured video footage of events of the day. By the
       Government’s own admission, the Government has an overwhelming amount of


1
  See https://www.washingtonpost.com/investigations/interactive/2021/dc-police-records-capitol-
riot/?itid=sf_visual-forensics.
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       video footage of the events of January 6, 2021. During the handlings of January 6
       cases, the Government has garnered and continues to garner access to added video
       footage from, among other sources, the general public and the defendants
       themselves. Upon information and belief, the Government is not capable of
       vetting, cataloging and determining materiality of the video footage such as to
       ensure that disclosure of same is timely made in all cases to which the footage is
       material for disclosure purposes. The “information and belief” in this regard is a
       function of the undersigned counsel’s personal knowledge relative to footage given
       to the Government, familiarity with other January 6 cases both as counsel for other
       January 6 defendants and as counsel familiar with other counsel representing
       January 6 defendants and the understanding that the footage provided to the
       Government does not appear to have been produced to other defendants whose
       cases warrant similar disclosure by the Government of material evidence.
       Defendant has requested the Government confirm whether there is a single
       repository for all video footage amassed relative to the events at the Capitol on
       January 6, 2021 and, further, has requested access to same for inspection and
       examination for determination of materiality and disclosure of the Government’s
       protocol to determine materiality.

United States v. Jacob Chansley, 21-cr-00003 (RCL) (Document No. 58)(emphasis added).

                           Early Establishment of Discovery Team

       Shortly after the Capitol Breach, the U.S. Attorney’s Office established a Capitol Breach

Discovery Team to create and implement a process for the production of discovery in January 6

cases. The Discovery Team is staffed by federal prosecutors who have experience in managing

complex investigations involving voluminous materials, Department of Justice experts in project

management and electronic discovery management, and a lead discovery agent from the Federal

Bureau of Investigation. Members of the Discovery Team consult regularly with Department of

Justice subject matter experts, including Associate Deputy Attorney General and National

Criminal Discovery Coordinator Andrew Goldsmith. As discussed further below, members of the

Discovery Team also meet and confer on a regular basis with Federal Public Defender (“FPD”)

leadership and electronic discovery experts.




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                     Recognition of Need for Vendor Promptly Addressed

       Following the Capitol Breach, the United States recognized that due to the nature and

volume of materials being collected, the government would require the use of an outside contractor

who could provide litigation technology support services to include highly technical and

specialized data and document processing and review capabilities. The government drafted a

statement of work, solicited bids, evaluated them, and selected a vendor.             This was an

unprecedented undertaking which required review at the highest levels of the Department of

Justice and was accomplished as quickly as possible.

       On or about May 28, 2021, the government contracted Deloitte Financial Advisory

Services, LLP (“Deloitte”), a litigation support vendor with extensive experience providing

complex litigation technology services, to assist in document processing, review and production

of materials related to the Capitol Breach. As is required here, Deloitte furnishes secure, complex,

and highly technical expertise in scanning, coding, digitizing, and performing optical character

recognition – as well as processing, organizing, and ingesting a large volume of Electronically

Stored Information (“ESI”) and associated metadata in document review platforms – which is vital

to the United States’ ability to review large data/document productions and is essential to our

ability to prosecute these cases effectively.




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                            Implementation of Contract with Deloitte

       We have already begun transferring a large volume of materials to Deloitte (as of July 7,

2021, over 200 disks of data and 34,000 USCP records), who is populating the database. Specific

processing workflows and oversight are being established between the United States Attorney’s

Office and the vendor. We have already coordinated with Deloitte to use various tools to identify

standard categories of Personal Identifying Information (“PII”) and to redact them. Once the

database is accessible, we will begin systematically reviewing materials for potentially

discoverable information, tagging when possible (e.g., video by a location or type of conduct,

interviews describing a particular event), and redacting when necessary. Among other things, the

vendor is also building a master evidence tracker to assist us in keeping records of what is provided

to us and what is ultimately produced, which is part of our approach to a defensible discovery

protocol.

                          Systematic Reviews of Voluminous Materials

       We are implementing and continuing to develop processes and procedures for ensuring that

voluminous materials have been and will continue to be systematically reviewed for information

that, inter alia, may be material to the defense, e.g.:

            o Comparing all known identifiers of any charged defendant against tips, Parler data,
              ad tech data, cell tower data, and geofence data; and

            o Searching all visual media (such as CCV, BWC, social media or device search
              results) – the collection of which grows on a regular basis – against known images
              of charged defendants.




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                               Certain Specific Defense Requests
       Multiple defense counsel have inquired about investigations into officers who were alleged

to have been complicit in the January 6 Capitol Breach. We have received copies of investigations

into officer conduct, have finished reviewing them, and plan to disclose the relevant materials

shortly.

                                  Discovery Already Provided

       The Government has already turned voluminous discovery in this, including all grand jury

materials; serials with officer notes; specific relevant clips of BWC and CCTV, and public videos

and photos.     We have also already arranged six opportunities for defense counsel and an

investigator to walk through the crime scene, which required the USCP to obtain the approval of

many different Congressional offices to obtain access to various areas that are relevant to the

charges being brought.

                         Complexities Require Careful Consideration

       Producing discovery in a meaningful manner and balancing complex legal-investigative

and technical difficulties takes time. We want to ensure that all defendants obtain meaningful

access to voluminous information that may contain exculpatory material, and that we do not

overproduce or produce in a disorganized manner. That means we will review thousands of

investigative memoranda, even if there is a likelihood they are purely administrative and not

discoverable, to ensure that disclosures are appropriate.

                                Legal-Investigative Considerations

       We must also carefully ensure we are adequately protecting the privacy and security

interests of witnesses and subjects from whom those materials were derived. For example, we

cannot allow a defendant’s PII to be disseminated – without protection – to hundreds of others.

Similarly, we cannot allow personal contact information for Congressional members, staffers, and

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responding police officers – targets and victims of these crimes – whose phones may have

connected to the Capitol’s DAS network to inadvertently be produced. We also must protect Law

Enforcement Sensitive materials by ensuring they are carefully reviewed for discoverability and,

if they are discoverable, that they are disclosed in an appropriate manner. We continue to develop

workable paradigm for disclosing a vast amount of Capitol CCV while ensuring that the Capitol’s

security is maintained. We are also scrupulously honoring defendants’ attorney-client privilege by

employing a filter team that is continually reviewing devices and accounts for potentially

privileged communications.

                                  Technological Considerations

       A large volume of the information that has been collected consists of ESI. ESI frequently

contains significant metadata that may be difficult to extract and produce if documents are not

processed using specialized techniques. Metadata is information about an electronic document

and can describe how, when and by whom ESI was created, accessed, modified, formatted, or

collected. In the case of a document created with a word processing program, for example,

metadata may include the author, date created, and date last accessed. In the case of video footage,

metadata may identify the camera that was used to capture the image, or the date and time that it

was captured. Metadata may also explain a document’s structural relationship to another

document, e.g., by identifying a document as an attachment to an investigative memoranda.

       Processing, hosting, and production of the voluminous and varied materials described

above, to include the preservation of significant metadata, involves highly technical considerations

of the document’s source, nature, and format. For example, the optimal type of database for

hosting and reviewing video footage may differ from the optimal type of database for hosting

investigative memoranda. Similarly, a paper document, a word processing document, a



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spreadsheet with a formula, video footage from a camera, or video footage associated with a

proprietary player may each require different types of processing to ensure they are captured by

database keyword searches and produced with significant metadata having been preserved.

                  Involving Defense Counsel in Voluminous Discovery Plan

       The Discovery Team regularly meets with FPD leadership and technical experts with

respect to discovery issues. Given the volume of information that may be discoverable, FPD is

providing input regarding formats that work best with the review tools that Criminal Justice Act

panel attorneys and Federal Defender Offices have available to them. Due to the size and

complexity of the data, we understand they are considering contracting with third party vendors to

assist them (just as the United States Attorney’s Office has done for this matter). So as to save

defense resources and to attempt to get discovery more quickly to defense counsel, there were

efforts made to see if FPD could use the same vendor as the United States Attorney’s Office to set

up a similar database as the government is using for reviewing the ESI, but for contractual and

technical reasons we have recently learned that was not feasible. We are in the on-going process

of identifying the scope and size of materials that may be turned over to FPD with as much detail

as possible, so that FPD can obtain accurate quotes from potential database vendors. It is hoped

that any databases or repositories will be used by FPD offices nationwide that are working on

Capitol Breach cases, counsel that are appointed under the Criminal Justice Act, and retained

counsel for people who are financially unable to obtain these services. A database will be the most

organized and economical way of ensuring that all counsel can obtain access to, and conduct

meaningful searches upon, relevant voluminous materials, e.g., thousands of hours of body worn

camera and Capitol CCV footage, and tens of thousands of documents, including the results of

thousands of searches of SCA accounts and devices.



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       Compliance with Recommendations Developed by the Department of Justice and
    Administrative Office of the U.S. Courts Joint Working Group on Electronic Technology

         As is evidenced by all of the efforts described above, the United States is diligently working

to comply with the Recommendations for Electronically Stored Information (ESI) Discovery

Production developed by the Department of Justice and Administrative Office of the U.S. Courts

Joint Working Group on Electronic Technology in the Criminal Justice System in February 2012. 2

See https://www.justice.gov/archives/dag/page/file/913236/download. For example, we are: (1)

including individuals with sufficient knowledge and experience regarding ESI; (2) regularly

conferring with FPD about the nature, volume and mechanics of producing ESI discovery; (3)

regularly discussing with FPD what formats of production are possible and appropriate, and what

formats can be generated and also maintain the ESI’s integrity, allow for reasonable usability,

reasonably limit costs, and if possible, conform to industry standards for the format; (4) regularly

discussing with FPD ESI discovery transmission methods and media that promote efficiency,




2
 These Recommendations are explicitly referenced in the Advisory Committee Note to Rule 16.1.
Importantly, the two individuals primarily responsible for developing the Recommendations are
Associate Deputy Attorney General Andrew Goldsmith, who (as noted earlier) is working closely
with the prosecution’s Discovery Team, and Sean Broderick, the FPD’s National Litigation
Support Administrator, who is playing a similar role for the D.C. Federal Defender’s Office on
electronic discovery-related issues. Messrs. Goldsmith and Broderick have a long history of
collaborating on cost-effective ways to address electronic discovery-related issues, which
undoubtedly will benefit all parties in this unprecedented undertaking.
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      security, and reduced costs; and (5) taking reasonable and appropriate measures to secure ESI

      discovery against unauthorized access or disclosure.

                                                  Respectfully submitted,

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